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IN THE UNITED sTATEs DISTRICT coURT
FOR THE wESTERN DISTRICT oF TENNESSEE
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cAROLYN M. JENKINS,

Plaintiff,
vs. No. 05-2079-B/P

MID-SOUTH TRANSPORTATION
MANAGEMENT, INC. et al.,

Defendants.

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ORDER GRANTING LEAVE 'I'O PROCEED M FORMA PAUPERIS
ORDER CORRECTING THE DOCKET
ORDER DENYING APPOINTMENT OF COUNSEL
AN'D
ORDER TO ISSUE AND EFFECT SERVICE OF' PROCESS

 

Plaintiff Carolyn Jenkins filed a pro §§ complaint pursuant to
Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 2000e et
§§g;, and the Employment Retirement Income Security Act (“ERISA”),
29 U.S.C. § 1101 §§ §eg;, on February 1, 2005, along with a motion
seeking leave to proceed in forma pauperis. Based on the
information set forth in the plaintiff's affidavit, the motion to
proceed in forma pauperis is GRANTED. The Clerk shall record the
defendants as Mid-South Transportation.Management, Inc. (“MTM”) and
the Memphis Area Transit Authority (“MATA”).1

The plaintiff has filed_ a motion. seeking appointment of

counsel. Two statutes authorize the district court to request or

 

1 Although the plaintiff identified the defendant in the case caption

as “Mid-South Transportation (M.A.T.A.),” the Clerk is ORDERED to correct the
docket to substitute the correct legal names of the defendants.

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appoint Counsel for an indigent Title VII plaintiff. Twenty-eight
U.S.C. § 1915(d) provides that the “court may request an attorney
to represent any such person unable to employ counsel.”2
Similarly, under 42 U.S.C. § 2000e-5(f)(1), “upon application by
the complainant and in such circumstances as the court may deem
just, the court may appoint an attorney.” However, “[t]here is no
constitutional or . .. statutory right to counsel in federal civil
cases.” Farmer v. Haas, 990 F.2d 319, 323 (7th Cir. 1993).
Generally, a court will only appoint counsel in exceptional
circumstances. Willett v. Wells, 469 F. Supp. 748, 751 (E.D. Tenn.
1977). Although “no comprehensive definition. of exceptional
circumstances is practical,” Branch v. Cole, 686 F.2d 264, 266 (5th
Cir. 1982), courts resolve this issue through_ a fact-specific
inquiry. Wilborn v. Escalderon, 789 F.2d 1328, 1331 (9th Cir.
1986). Examining the pleadings and documents in the file, the
Court analyzes the merits of the claims, the complexity of the
case, the ppg §§ litigant's prior efforts to retain counsel, and
her ability to present the claims. Hean v. Citv of Detroit
Manpower Dep’t, 763 F.2d 757, 760 (6th Cir. 1985); Wiggins v.
Sargent, 753 F.Zd 663, 668 (8th Cir. 1985).

As a general rule, counsel should be appointed in civil cases
only if a litigant has made “a threshold showing of some likelihood

of merit.” Cooper v. A. Sargenti Co., 877 F.2d 170, 174 (2d Cir.

 

2 However, “§ 1915(d) does not authorize the federal courts to make
coercive appointments of counsel” to represent indigent civil litigants. Mallard
v. United States Dist. Court, 490 U.S. 296, 310 (1989).

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1989).3 At this stage of the proceedings, before the Court has had
the opportunity to assess the strength of plaintiff's case, the
Court is unable to conclude that plaintiff has satisfied that
standard. Moreover, a review of this complaint indicates that the
case is not so complex that the Court should exercise its
discretion to appoint counsel at this time. Furthermore, it does
not appear from the affidavit supporting plaintiff's motion that
she will be unable to obtain counsel on her own. The motion for
appointment of counsel is DENIED.

It is ORDERED that the Clerk shall issue process for the
defendants and deliver said process to the marshal for service.
Service shall be made on the defendants pursuant to Fed. R. Civ. P.
4(h)(1). Service on the defendants shall include a copy of this
order. All costs of service shall be advanced by the United States.

It is ORDERED that the plaintiff shall serve a copy of every
further document filed in this cause on the attorney for the
defendant or on the defendant if it has no attorney. The plaintiff
shall make a certificate of service on every document filed. The
plaintiff shall familiarize herself with the Federal Rules of Civil
Procedure and this Court’s local rules.

The plaintiff shall promptly notify the Clerk of any change of

address or whereabouts. Failure to comply with these requirements,

 

3 The Second Circuit elaborated: “Courts do not perform a useful
service if they appoint a volunteer lawyer to a case which a private lawyer would
not take if it were brought to his or her attention. Nor do courts perform a
socially justified function when they request the services of a volunteer lawyer
for a meritless case that no lawyer would take were the plaintiff not indigent.”
Id.

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or any other order of the Court, may result in this case being
dismissed without further notice.

IT IS SO ORDERED this

 
        

WWIEL BREEN
n sTATES DISTRICT JUDGE

 

 
 

UNITED `STATS DISTCRIT C URT - WESTRNE ISRTOF TENNESSEE

 

Notice of Distribution

ThiS notice confirms a copy of the document docketed as number 3 in
case 2:05-CV-02079 Was distributed by faX, mail, or direct printing on
July 6, 2005 to the parties listed.

 

Carolyn M. Jenkins
1586 Locust Street
i\/lemphis7 TN 38108

Honorable J. Breen
US DISTRICT COURT

